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                            UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF TEXAS

                                     HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
       v.                                       §   CRIMINAL NO. H-16-CR-409-2
                                                §
VICTOR HUGO VALDEZ PINON                        §

       UNOPPOSED MOTION FOR PRELIMINARY ORDER OF FORFEITURE

       The United States of America respectfully moves for a preliminary order of forfeiture

imposing a money judgment against Defendant, Victor Hugo Valdez Pinon.

       On December 9, 2015, Defendant pleaded guilty to Count One of the Information, charging

him with conspiracy to violate the Foreign Corrupt Practices Act (FCPA) and commit wire fraud,

in violation of 18 U.S.C. § 371. Rule 32.2(b)(1)(A) of the Federal Rules of Criminal Procedure

provides that after a guilty plea on any count in an indictment or information for which criminal

forfeiture is sought, the court must determine what property is subject to forfeiture. Rule

32.2(b)(1)(A) further provides that if the Government seeks a money judgment, the Court must

determine the amount of money that the defendant will be ordered to pay. Fed. R. Crim. P.

32.2(b)(1)(A). In making this determination, the Court is permitted to rely on evidence already in

the record, including any plea agreement. Fed. R. Crim. P. 32.2(b)(1)(B).

       The record in this case establishes that the FCPA and wire fraud conspiracy generated at

least $275,000.00 in proceeds. Further, the factual basis for his guilty plea, which the defendant

agreed to in his plea agreement, established that the conspiracy generated proceeds of at least

$275,000.00, and he has agreed that this factual basis supports the forfeiture of proceeds that



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resulted from the conspiracy. Furthermore, the defendant also agreed in the plea agreement to the

imposition of a money judgment against him and in favor of the United States.

       Accordingly, the United States respectfully requests that the Court enter a preliminary

order of forfeiture imposing a money judgment against Defendant and in favor of the United States

in the amount of $275,000.00.


Respectfully submitted,

ANDREW WEISSMANN                               KENNETH MAGIDSON
CHIEF, FRAUD SECTION                           UNITED STATES ATTORNEY
CRIMINAL DIVISION                              SOUTHERN DISTRICT OF TEXAS


/s/ Christopher Cestaro                        /s/ Arthur R. Jones
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                              CERTIFICATE OF CONFERENCE

       On or about February 20, 2017, Catherine Baen, attorney of record for Victor Hugo Valdez

Pinon, advised that she is unopposed to the filing of this motion, and to the granting of this motion.


                                                      /s/ Arthur R. Jones
                                                      ARTHUR R. JONES
                                                      Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on February 20, 2017, a true and correct copy of the

foregoing Motion was electronically delivered to Catherine Baen, via electronic case filing (ECF).


                                                    /s/ Arthur R. Jones
                                                    ARTHUR R. JONES
                                                    Assistant United States Attorney




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